                   UNITED STATES BANKRUPTCY COURT
                     EASTERN DISTRICT OF MICHIGAN

In re                                               Case No.: 18-56448
                                                    Chapter 13
Regina Parks                                        Judge Phillip Shefferly

Debtor
______________________________/

                  ORDER EXTENDING AUTOMATIC STAY

      THIS CAUSE, coming before the Court on the stipulation of Debtor, Regina
Parks; Creditor, Deutsche Bank National Trust Company; and the Standing Chapter
13 Trustee, for entry of an Order Extending Automatic Stay, and this Court, having
reviewed the stipulation and proposed Order, having reviewed the pleadings in this
cause, having determined that entry of this Order is appropriate under the
circumstances of this case, and being otherwise fully advised in the premises, it is
hereby

      ORDERED AND ADJUDGED that the Automatic Stay under Section 362 is
extended pursuant to 11 USC Section 362(c)(3) is extended to February 12, 2019
unless further ordered by this Court. It is further

       ORDERED AND ADJUDGED that no later than January 20, 2018, Debtor
will file an Amended Schedule I and Amended Schedule J. If Debtor does not file
the required Amendments by the date specified, the Automatic Stay may be
terminated in its entirety without further notice or hearing upon the filing of an
Affidavit of Creditor or the Chapter 13 Trustee. It is further

       ORDERED AND ADJUDGED that no later than January 20, 2018, Debtor
provide to Creditor and the Chapter 13 Trustee proof of all sources of Debtor’s
income as reflected on Debtor’s Amended Schedule I including, but not limited to,
a Profit & Loss Statement for Debtor’s self-employment showing all income
received and all expenses incurred by Debtor on a monthly basis commencing July
1, 2018 through December 31, 2018; at least two current paystubs for Debtor’s
employment reflecting pay periods ending on or after October 1, 2018; and an
Affidavit or Unsworn Declaration Under Penalty of Perjury signed by any third party
listed on Debtor’s Amended Schedule I as providing support to Debtor attesting to
the fact that the third party is providing support in at least the amount indicated on


  18-56448-pjs   Doc 30    Filed 01/08/19   Entered 01/08/19 15:14:27   Page 1 of 2
Amended Schedule I and will continue to provide that support during the pendency
of this case. If Debtor does not provide all of the required income documentation by
the date specified, the Automatic Stay may be terminated in its entirety without
further notice or hearing upon the filing of a Notice of Default by Creditor or the
Chapter 13 Trustee. It is further

       ORDERED AND ADJUDGED that if Debtor does not make all future Plan
payments in a timely manner, the Trustee or the Creditor may submit a Notice of
Default, served upon Debtor and Debtor’s counsel and permitting 15 days from the
service of the Notice in which to cure any and all defaults in payments. If Debtor
does not cure the defaults in payments after having been provided notice under the
provisions of this Order, then the Trustee or the Creditor may submit an Order
Terminating Automatic Stay to the Bankruptcy Court along with an affidavit
attesting to a failure to make plan payments, and the stay may thereafter be
terminated in its entirety without further notice or hearing.


Signed on January 08, 2019




  18-56448-pjs   Doc 30      Filed 01/08/19   Entered 01/08/19 15:14:27   Page 2 of 2
